                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                           )
                                                     )
                        Plaintiff,                   )
                                                     )
 v.                                                  )            No. 3:20-CR-65-TAV-HBG
                                                     )
 GARY D. LITTLEJOHN,                                 )
                                                     )
                        Defendant.                   )


                                        PRETRIAL ORDER

                This case is before the Court on September 25, 2020, pursuant to the Court

 reviewing the file.   The Court discerns no need to hold a pretrial conference in this matter.

                                                   I.

                There are no pending motions in this case.

                                                   II.

                Trial procedures to be followed in this case are as follows:

                (a) Jury Selection. The Court will conduct a preliminary voir dire examination

 of the jury, and then counsel will be permitted to conduct voir dire examination.        The Court

 reserves the right to interrupt counsel and conduct voir dire on its own if counsel ask improper

 questions or if the proceedings are unnecessarily prolongated.

                (b) Peremptory Challenges.        Under Fed. R. Crim. P. 24(b)(2), the defendant is

 entitled to ten peremptory challenges and the government is entitled to six.

                (c) Novel Legal Issues for the Court.        No novel or unusual legal issues were

 identified as of the time of the pretrial conference.



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                 (d) Novel Evidentiary Issues for the Court.         No novel or unusual evidentiary

 problems were identified as of the time of the pretrial conference.

                 (e) Special Requests for Jury Instructions. If counsel have any special requests

 for instructions to the jury, the same shall be filed at least five (5) working days before trial.

                 (f) Additional Motions.     No more motions, except for motions in limine, will be

 allowed to be filed in this cause of action by either side without prior leave of Court.    Motions in

 limine must be filed fifteen days before trial.

                 (g) Admissions and Stipulations.        Counsel should meet in advance of trial and

 carefully review the trial exhibits with a view toward stipulating the admissibility of as many

 exhibits as possible. Any admissions and stipulations of fact to be used at trial shall be signed by

 defendant’s attorney and the defendant and filed at least five (5) working days before trial.

                 (h) Courtroom Decorum.            Counsel are encouraged to familiarize themselves

 with Local Rule 83.3 and ensure that their clients are familiar with the contents of this rule.

                 (i) Jury List. The Clerk may provide counsel with a jury list containing names

 and personal information concerning prospective petit jurors (hereafter “the jury list”).      Counsel

 and any other person provided with the jury list may not share the jury list or information therein

 except as necessary for purposes of jury selection.       Following jury selection, counsel and any

 other person provided the jury list must return to the clerk the jury list and any copies made from

 the jury list or destroy them.

                 (j)   Contact with Jurors.          Unless permitted by the Court, no attorney,

 representative of an attorney, party or representative of a party, may interview, communicate with,



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 or otherwise contact any juror or prospective juror before, during, or after the trial.   Permission

 of the Court must be sought by an application made orally in open court or upon written motion

 stating the grounds and the purpose of the contact.      If permission is granted, the scope of the

 contact and any limitations upon the contact will be prescribed by the Court prior to the contact.

                                                 III.

                This case will be set for trial before the Honorable Thomas A. Varlan and a jury, to

 commence at 9:00 a.m. on October 6, 2020.

                If counsel have any objections to this Pretrial Order, such objection should be taken

 up pursuant to Local Rule 72.4(b), EDTN.

                IT IS SO ORDERED.

                                               ENTER:


                                               United States Magistrate Judge




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